USCA4 Appeal: 22-320      Doc: 1      Filed: 12/01/2022    Pg: 1 of 1


                                                                 FILED: December 1, 2022

                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT

                                      ___________________

                                           No. 22-320
                                       (8:19-cv-02797-PX)
                                      ___________________

        ROGERS MORGAN

                       Petitioner

        v.

        CALIBER HOME LOANS, INC.

                       Respondent


        This case has been opened as an original proceeding in this court. The district court
        is receiving this notice for informational purposes.
         Originating Court                 United States District Court for the District of
                                           Maryland at Greenbelt
         Date Petition Filed:              11/30/2022
         Petitioner                        Rogers Morgan

        Appellate Case Number            22-320
        Case Manager                     Kirsten Hancock
                                         804-916-2704
